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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RAHSAAN WOODS                         :
                                      :
       vs.                            :
                                     :
DIVERSIFIED ADJUSTMENT SERVICE, INC. :                          NO. 13-3585

                                             OR D E R


                 AND NOW, TO WIT: This 11th day of February, 2014, it having been reported

that the issues between the parties in the above action has been settled and upon Order of the Court

pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it is

hereby ORDERED that the above action is DISMISSED with prejudice, pursuant to agreement of

counsel without costs.




                                                  MICHAEL E. KUNZ, Clerk of Court


                                                  BY: S/Eileen Adler
                                                           Eileen Adler
                                                           Deputy Clerk




Civ 2 (8/2000)
41(b).frm
